                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WISCONSIN
                                 GREEN BAY DIVISION

BRIAN G. HEYER

          Plaintiff,
                                                        Case No. 1:19-cv-00015-WCG
v.

EXPERIAN INFORMATION SOLUTIONS,
INC., et al.,

          Defendants.


                   DECLARATION OF MERYL W. ROPER IN SUPPORT OF
                 DEFENDANTS EXPERIAN INFORMATION SOLUTIONS, INC.,
               EQUIFAX, INC., AND EQUIFAX INFORMATION SERVICES, LLC’S
                         JOINT MOTION TO DISMISS COMPLAINT

          I, Meryl W. Roper, hereby make this declaration under penalty of perjury, pursuant to 28

U.S.C. § 1746, as follows:

          1.      I am over the age of 21, and have personal knowledge of the facts set forth herein,

and those facts are true and correct. If called to testify, I could and would testify competently

hereto.

          2.      I am an attorney with the law firm of King and Spalding LLP and represent

Equifax Information Services LLC (“Equifax”) in the above-captioned action. I submit this

declaration in support of Defendants Experian Information Solutions, Inc., Equifax, Inc., and

Equifax Information Services, LLC’s Joint Motion to Dismiss Complaint. This declaration is

submitted based upon my personal knowledge.




          Case 1:19-cv-00015-WCG Filed 03/11/19 Page 1 of 2 Document 17-1
       3.      Pursuant to Civil L. R. 7, I have attached true and correct copies of the unreported

opinions cited in Defendants Experian Information Solutions, Inc., Equifax, Inc., And Equifax

Information Services, LLC’s Memorandum in Support of Joint Motion to Dismiss Complaint.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on March 11, 2018.

                                             By: /s/ Meryl W. Roper
                                                 Meryl W. Roper




                                                2
DMSLIBRARY01\33951827.v1
        Case 1:19-cv-00015-WCG Filed 03/11/19 Page 2 of 2 Document 17-1
